Case 2:17-cv-01117-JZB Document 12 Filed 12/06/17 Page 1 of 14

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

UNITED STATES DISTRICT COURT

Josie Owens

      

[7 FIED
—RECEVED __ COPY

 

 

 

 

 

 

 

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,

for the DEC 06 2017
UNITED STATES District of ARIZONA { CLERK US DISTRICT COURT
DISTRI ARIZONA
CIVIL _ Division ~ [BY Hd ——- DEPUTY f

Case No. 2:17-cv-01117-JZB

, (to be filled in by the Clerk’s Office)

Jury Trial: (check one) Yes No

xX

please write "see attached" in the space and attach an additional

. page with the full list of names.)
-y-

Freedom Roads LLC

 

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

Nee Nee Nee ee” ee” ee Ne ee ee ee ae Ne ae Se

COMPLAINT FOR EMPLOYMENT DISCRIMINATION

L The Parties to This Complaint
A. The Plaintiff(s)

needed.
Name
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

FORM ACCORDING
MENT 1S NOT IN PROPER Fon ;
ra OERAL ANDIOR LOCAL RULES AND PRACTICE

AND IS SUBJECT TO REJECTION BY NC \
cov) (\
REFERENCE (Rule Number/Section)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

on
a
a

JOSIE OWENS i
1836 E APACHE BLVD |
TEMPE, MARICOPA

AZ. 85281

602-517-1787

versitilegraphics@gmail.com

 

 

 

 

 

 

Le,

Pace af 14

 
Case 2:17-cv-01117-JZB Document 12 Filed 12/06/17 Page 2 of 14

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

 

B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (known). Attach additional pages if needed.

Defendant No. 1

 

 

 

 

 

Name FREEDOM ROADS LLC CORPORATION
Job or Title (if known) CORPORATION

Street Address RE: 10255 PAPAGO FWY

City and County AVONDALE, MARICOPA

State and Zip Code AZ, 85323

Telephone Number 1-888-583-8215

 

 

E-mail Address (if known)

 

Defendant No. 2

Name

 

Job or Title (if known)

 

Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

E-mail Address (if known)

 

Defendant No. 3 ~

Name

 

Job or Title (fknown)

 

Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

E-mail Address (if known)

 

Defendant No. 4

Name

 

Job or Title (if known)

 

Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

Pane af 14
Case 2:17-cv-01117-JZB Document 12 Filed 12/06/17 Page 3 of 14

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

E-mail Address (if known)

 

C. Place of Employment

The address at which I sought employment or was employed by the defendant(s) is

 

 

 

 

 

Name CAMPING WORLD/ FREEDOM ROADS LLC RV DEALER
Street Address 10255 PAPAGO FREEWAY
City and County AVONDALE, MARICOPA
State and Zip Code AZ,85323
Telephone Number 1-888-583-8215
I. Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that apply):

[X]Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000¢ to 2000e-17 (race,
color, gender, religion, national origin).
(Note: In order to bring suit in federal district court under Title VII, you must first obtain a

Notice of Right to Sue letter from the Equal Employment Opportunity Commission.)
THIS HAS BEEN SUBMITTED IN ORIGINAL COMPLAINT AND IS IN THE FILE

Other federal law (specify the federal law):
RETALIATION ACT OF 1998

 

Relevant state law (specify, if known):
EQUAL PAY ACT

 

Relevant city or county law (specify, if known):
UNITED STATES EQUAL EMPLOYMENT LAWS

 

Paoe af 14
Case 2:17-cv-01117-JZB Document 12 Filed 12/06/17 Page 4 of 14

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

Ill. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

A. The discriminatory conduct of which I complain in this action includes (check all that apply):

Failure to hire me.

[X]Termination of my employment.

[X]Failure to promote me.

Failure to accommodate my disability.

[X]Unequal terms and conditions of my employment.
[X]Retaliation.

Other acts (specify): . SEGREGATED AND FAILURE TO PROVIDE REQUIRED
ENVIROMENT AND NEEDS FOR JOB FUNCTIONS DUE TO
GENDER DISCRIMINATION

 

(Note: Only those grounds raised in the charge filed with the Equal Employment
Opportunity Commission can be considered by the federal district court under the
federal employment discrimination statutes.)

 

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)
BETWEEN MY HIRE DATE 12/16/2014, PROMOTION DATE 08/12/2015 AND TERMINATION
08/30/2016

C. I believe that defendant(s) (check one):

[X]is/are still committing these acts against me.

is/are not still committing these acts against me.

 

 

 

D. Defendant(s) discriminated against me based on my (check all that apply and explain):
race
color
gender/sex FEMALE
religion

 

national origin

 

age (vear of birth) (only when asserting a claim of age discrimination.)

disability or perceived disability (specify disability)

 

Pasa af 14
Case 2:17-cv-01117-JZB Document 12. Filed 12/06/17 Page 5 of 14

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

 

E. The facts of my case are as follows. Attach additional pages if needed.

Pace af 14

 
Case 2:17-cv-01117-JZB Document 12 Filed 12/06/17 Page 6 of 14

IT IS ALLEGED BY JOSIE OWENS THE PLAINTIFF IN A CURRENT PRO-SE FEDERAL COURT
NOTICE FOR DISCRIMINATION AND RETALIATION BELIEVED AND ALLEGED TO BE
COMMITTED BY FORMER EMPLOYER KNOWN AS CAMPING WORLD, BUT THE
DEALERSHIP AND PAY INFO WAS PREVIOUSLY TITLED FREEDOM ROADS LLC. AS THE
DEFENDANTS NAME FOR DEALERSHIP EMPLOYEES. THE DEFENDANT IS A CORPORATION
WHO RECENTLY WENT PUBLIC, THIS IS A NATIONAL COMPANY BASED OUT OF CHICAGO
IL.

AND BELIEVED BY ME ALL FOLLOWING STATEMENTS ARE NOT TO BE IN ASSUMPTION
OR PRESENT GUILT THAT IS NOT DETERMINED BY THIS FEDERAL US COURT PROCEDING.
ALL STATEMENTS ARE WHAT I AS THE PLAINTIFF JOSIE OWENS IS ALLEGING IN THIS
FEDERAL US COURT PROCEDING AND IDO UNDERSTAND I WILL BE EXPECTED TO
PROVIDE EVIDENCE TO PROVE ALL SAID ALEGATIONS BY PLAINTIFF JOSIE OWENS OR
REFERRED BY AS ME, MYSELF AND I IN THIS COMPLAINT DOCUMENT. WITH THIS SAID I
HAVE PREPARED THIS PRO-SE AND AM STILL TRYING TO FIND AN ATTORNEY, I HAVE
SENT A COPY AND MY STORY TO A FEW NEWS STATIONS, ONLINE FORUMS FOR WOMENS
RIGHTS AND SEVERAL ACTIVIST GROUPS FOR WOMANS RIGHTS AS WELL MANY LAW
SCHOOLS TO RECEIVE HELP AND SUPPORT IN THIS MATTER LEGALLY I AM WAITING FOR
RESPONSE AS THIS IS NOT A FAST PROCESS TO FIND THE RIGHT ATTORNEY WHO AFTER 3
WEEKS OF WAITING FOR EEOC TO FINISH MY COMPLETE DOCUMENTS I HAD VERY
LITTLE TIME TO SEARCH FOR ATTORNEYS AND STILL HAVE TIME TO COMPLETE MY
COMPLAINT BY THE FINAL DUE DATE.

I WAS THE ONLY FEMALE HIRED FOR INTERNET SALES MANAGEMENT POSITION OF 4
INDIVIDUALS IN MY TIME OF EMPLOYMENT I AM FILING THIS DUE TO IT BEING
OBSERVED BY ME AND ALLEGED BY ME THE PLAINTIF JOSIE OWENS THAT I WAS THE
ONLY PERSON OF A PROTECTED CLASS WHOM WAS NOT GIVEN ACCOMODATIONS
REQUIRED FOR MY POSITION, MY PAY WAS REDUCED TO A FAR LOWER WAGE THAN
AGREED UPON NEW GENERAL MANAGER’S ARRIVAL BOB MCLAUGHLIN. MY EQUAL
(PEER MANAGER) AND OTHERS PREVIOUS AND AFTER MY EMPLOYMENT IN THE VERY
SAME POSITION OF THE NON PROTECTED GENDER CLASS OF MALE WAS GIVEN THE
PREFFRENTIAL AND REQUIRED ACCOMODATIONS I WAS DENIED. THESE MALE GENDER
EMPLOYEES IN MY SAME POSITION PRIOR AND AFTER MY EMPLOYMENT TERM WERE AS
WELL PAID MORE, THEY WERE NOT SEGREGATED, THEY WERE TRAINED AND GIVEN
ACCESS TO ALL MANAGEMENT FUNCTIONS I WAS DENIED. ATTACHED IS AN OUTLINE
NUMBERED AS REQUESTED WITH DETAILS HONORABLE JUDGE BOYLE HAS REQUESTED.
INCLUDING BUT NOT LIMITED TO THE BELOW LISTED AND OUTLINED, NUMBERED AND
ORGANIZED REASONING TO BELIEVE I ALLEGEDLY WAS DISCRIMINATED, SEGRAGATED,
HAD UNEQUAL PAY AND THEN WAS RETALIATED UPON FOR MY PROTECTED GENDER AS
FEMALE AND FOR GOING TO FILE A COMPLAINT THAT WAS KNOWN OF TO EEOC
RESULTING IN MY TERMINATION ON 08/30/2016.

1: I BELIEVE I WAS (ALLEGEDLY) DISCRIMINATED BASED ON GENDER OF A PROTECTED
CLASS DUE TO BEING A FEMALE AMONG 4 PEOPLE WITHIN MY EMPLOYMENT OF THIS
COMPANY THAT HELD MY SAME POSITION AS AN INTERNET SALES MANAGER, THIS
POSITION WAS IN DEBATE OF THE TITLE IT WOULD HOLD WITHIN THE CORPORATION. I
WILL REFER TO MY PREVIOUS TITLE AS INTERNET SALES MANAGER, IT IS ALSO REFERED
TO AS A BUSINESS DEVELOPMENT MANAGER.

A: INTERNET SALES MANAGER JOB DESCRIPTION AS REQUESTED PER HONORABLE
JUDGE BOYLE. THIS POSITION IS RESPONSIBLE TO MANAGE 11+ SALES PEOPLE, ALL
SALES ONLINE AND PHONE SALES INCLUDING CREATING NUMBERS AND DEALS FOR
THESE INTERNET BASED CUSTOMERS. MANAGING ALL DATA BASED ON CRM
(CUSTOMER RETENTION MANAGEMENT PROGRAM SYSTEM KNOWN AS A COMPUTER
PROGRAM CALLED FOOTSTEPS THEN I ROLLED OUT SALESFORCE THE NEW CRM USED

 

Pace nf 14

 
Case 2:17-cv-01117-JZB Document 12 Filed 12/06/17 Page 7 of 14

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

THROUGH THE ENTIRE LOCATION AND MANY DEPARTMENTS). THIS POSITION IS
RESPONSIBLE FOR ALL SALES TRAINING, CRM FUNCTIONS INCLUDING CUSTOMER DATA,
MARKETING CAMPAIGNS, SALES TEAM FOLLOW UP, INVENTORY MANAGEMENT, ONLINE
MARKET STRATEGY, TRACKING TEAM MEMBERS, CUSTOMER COMPLAINTS, RECEPTION,
AND SALES PROCESS. CREATING WEEKLY, MONTHLY AND YEAR END REPORTS BASED
ON CRM UPDATED AND MANAGED INFORMATION. ALSO RESPONSIBLE FOR INVENTORY
ON WEBSITE, FILTERS AND SEARCHABLE DATABASE FOR CUSTOMERS AND SALES
ASSOCIATES. THIS POSITION DOES REQUIRE MUCH COMPUTER KNOWLEDGE,
MARKETING, SALES AND MANAGEMENT EXPERIENCE. I HAVE A DEGREE IN VISUAL
COMMUNICATIONS, MARKETING, OVER 5 YEARS EXPERIENCE IN MARKETING,
MANAGEMENT, AND RV SALES AS A TOP RATED SALES PROFESSIONAL. MY COMPUTER
AND SOFTWARE SKILLS ARE VERY PROFICIENT.

B: A QUICK SUMMERY OF MY ALLEGED AND CONTINUELY MONITORED PERFORMANCE
IN THIS ROLE. IT WAS MENTIONED SEVERAL TIMES AND I WAS EMAILED REGULARLY AS
WELL ABLE TO KEEP TRACK VIA CRM OF MY POSITION REGARDING OTHER LOCATIONS
WITHIN ARIZONA AND THE REGION. ARIZONA HAS 4 STORES, IN THE REGION I DID NOT
COUNT, BUT IT WAS ABOUT 40 STORES WITH A BUSINESS DEVELOPMENT CENTER AND
AN INTERNET SALES MANAGER ROLE. MY STATISTICS WERE CONSISTANTLY FOR A
YEAR NUMBER 1 IN ARIZONA EVERY MONTHY, TOP 5 WITHIN THE REGION, AT AN
AVERAGE OF 65% OF ALL DELIVERED SALES BEING THROUGH MY DEPARTMENT, THIS
WAS AT AN ALL TIME HIGH FOR THIS LOCATION BEING THE PREVIOUS MANAGER IN MY
ROLE WAS AT 6% WHEN I WAS PROMOTED I BROUGHT IT TO 10% WITHIN 2 MONTHS AND
CONSISTANTLY WITH EXCEPTION TO THE FINAL 2 MONTHS I BELIEVE THIS WAS DUE TO
BEING SABOTAGED FOR ILL INTENDED REASONS, I REMAINED AT 12% CONSISTANTLY. I
WORKED ON AVERAGE ON SALARY AND COMMISSION A TOTAL OF 140+ HOURS IN A PAY
PERIOD OF BI WEEKLY. THE TIME CLOCK WAS NOT ACCURATE AS I WOULD CLOCK OUT
BEFORE I WAS FINISHED TO NOT FORGET FOR OUR BUSINESS MANAGERS CONVENIENCE
JUST TO SHOW BASICALLY I WAS THERE AND SUPPOSEDLY TOOK LUNCH (RARELY). I
WAS PAID SALARY AND MY TIME WAS NOT HOURLY THEREFORE I WAS NOT
CONSISTANT WITH THE TIMESHEET AS ALL MANAGEMENT ON SALARY WAS NOT
CONCERNED WITH THE TIME SHEETS ONLY TO SAY WE ARRIVED AND EVENTUALLY
LEFT. I DID NOT FORESEE NEEDING THIS INFORMATION BECAUSE I WAS CONSTANTLY
WORKING FROM MOBILE OR AT THE OFFICE.

 

Paoe af 14
Case 2:17-cv-01117-JZB Document 12 Filed 12/06/17 Page 8 of 14

HOME FROM MY MOBILE APPLICATION TO RESPOND TO CUSTOMERS ON MY DAYS OFF, HOLIDAYS
AND NIGHT LEADS. (LEADS ARE CUSTOMERS WHO REQUEST INFORMATION ONLINE SUBMITTING A
FORM TO RESPOND). I BELIEVE THIS IS WHY MY HOURS WERE SO INACCURATE ON A TIME CLOCK I
WORKED EVENTS, FROM HOME AND ON SALARY DAILY AT THE OFFICE TOO.

C: HIERARCHY CHART GIVEN TO ME BY BROOK JOHNSTON MY REGIONAL BUSINESS DEVELOPMENT
MANAGER WAS AS FOLLOWS I WAS GIVEN THIS APPROXIMATELY AROUND 05/2016 I WILL HAVE MORE
SPECIFIC DATES AS I CREATE A INDEX AND TIMELINE ACCORDING TO ALL MY EVIDENCE I PRINTED
AND HAD TIME TO GATHER FROM FINDING I WAS BEING TERMINATED THE NIGHT BEFORE. THIS MAY
TAKE A BIT OF TIME AND I WILL SAVE IT FOR THE FINDING PORTION OF THIS CASE. ALL DATES THAT
DO NOT HAVE A DAY SHALL BE ASSUMED TO HAVE AN APPROXIMITY OF A MONTH OR SO IN THE TIME
FRAME AS FOR NOW TO SIMPLY DESCRIBE MY ALLEGATIONS OF THIS MATTER AND CREATE A BASIC
TIMELINE.

HIERARCHY FROM HIGHEST MANAGEMENT TO LOWEST ONLY CONSISTING OF SALES SPECIFIC
DEPARTMENT.

GENERAL MANAGER

GENERAL SALES MANAGER

(FLOOR) SALES MANAGER (IN CHARGE OF SERVICE NEEDS AND WALK IN CUSTOMERS) AND
EQUAL PEER TO INTERNET SALES MANAGER MY PREVIOUS POSITION.

SALES ASSOCIATES 11-14 IN THIS NON MANAGEMENT ROLE AND RECEPTIONIST ABOUT 2-3 IN THIS
ROLE.

D: NAMES OF PREVIOUS INTERNET SALES MANAGERS (BEFORE AND AFTER MY EMPLOYMENT IN
THIS ROLE) AND ALL ROLES THAT CHANGED IN ORDER AND DATES IN ORDER BY PERSON AND
TIME FRAME.

1) ERIC PEABODY PREVIOUS TO MY PROMOTION WAS INTERNET SALES MANAGER.

FROM BEFORE MY ORIGINAL HIRE DATE OF 12/16/2014 TILL MY PROMOTION DATE OF 08/2015
HE WAS THEN A (FLOOR SALES MANAGER) FOR A FEW MONTHS UNTIL PROMOTED AGAIN TO
GENERAL SALES MANAGER AROUND 11/2015 WHEN COREY JUSTICE WAS PROMOTED TO BE MY
PEER FLOOR SALES MANAGER FROM A SALES ASSOCIATE POSITION. BELOW IS A TIMELINE OF
MY EMPLOYMENT AND MANAGERS WITH ROLES.

SALES MANAGER POSITIONS HELD DURING THIS TIME

12/16/2014

WHEN I WAS HIRED AS SALES ASSOCIATE MY FIRST TIME BEING EMPLOYED BY FREEDOM ROADS

GENERAL MANAGER TOM ALEXANDER

FLOOR MANAGER JIM JOHNSTON

INTERNET SALES MANAGER ERIC PEABODY

JIM JOHNSTON WAS TERMINATED, ERIC PEABODY WENT INTO THE FLOOR MANAGER POSITION

TOM ALEXANDER QUITE AND MICK MADDOCKS WAS THE NEW GENERAL MANAGER

I WAS PROMOTED AT THIS TIME AS INTERNET SALES MANAGER BY MICK MADDOCKS THE GENERAL
MANAGER AT THAT TIME.

NEW ROLES BY 08/12/2016

GENERAL MANAGER MICK MADDOCKS

FLOOR SALES MANAGER ERIC PEABODY

INTERNET SALES MANAGER JOSIE OWENS 08/12/2015

A NEW POSITION WAS CREATED FOR GENERAL SALES MANAGER
ERIC WAS PROMOTED, COREY JUSTICE WAS PROMOTED FROM SALES ASSOCIATE TO FLOOR SALES
MANAGER, I CONTINUED IN INTERNET SALES MANAGER ROLE. AROUND 11/2015

MICK MADDOCKS QUITE AND BOB MCLAUGHLIN CAME APPROXIMATELY 01/2016

Pane af 14

 
Case 2:17-cv-01117-JZB Document 12 Filed 12/06/17 Page 9 of 14

NEW ROLES ALL STAYED THE SAME EXCEPT
GENERAL MANAGER NOW BOB MCLAUGHLIN 01/2015 APPROXIMATELY

2) COREY JUSTICE: BECAME MY REPLACEMENT I WAS DEMOTED AND HE WAS GIVEN MY ROLE AS
INTERNET SALES MANAGER I WAS OFFERED INTERNET SALES ASSISTANT POSITION ON 08/12/2016
COREY WAS OFFERED MY POSITION FROM HIS PREVIOUS MANAGEMENT POSITION OF FLOOR SALES
MANAGER DUE TO CORPORATE RESTRUCTURING THERE WAS NO MORE POSITION FOR GENERAL
MANAGER. THIS REQUIRED ONE OF THE MANAGERS TO BE DEMOTED THE NEW STRUCTURE WOULD BE
AS FOLLOWS BELOW

GENERAL SALES MANAGER :BOB MCLAUGHLIN

FLOOR SALES MANAGER: ERIC PEABODY

INTERNET SALES MANAGER: COREY JUSTICE

INTERNET SALES ASSISTANT MYSELF JOSIE OWENS 08/12/2016

3) RON BRANDTMAN PREVIOUSLY A SALES ASSOCIATE I MANAGED WAS PUT AS THE FOLLOWING
INTERNET SALES MANAGER POSITION AFTER COREY JUSTICES TIME IN THIS ROLE. AROUND 10/2016
ABOUT 2 WEEKS BEFORE MY DAUGHTER MARINNA OWENS OVER 18 YEARS OF AGE WAS TERMINATED
AS THE RECEPTIONIST.

LAST KNOWN ROLES HELD AROUND 10/2016

CORPORATE HEAD QUARTERS: CHICAGO IL,

NATIONAL CEO (OF CAMPING WORLD AND FREEDOM ROADS LLC) MARKUS LEMONIS
REGIONAL SALES MANAGER: KEVIN WEISS

GENERAL SALES MANAGER COREY JUSTICE

FLOOR SALES MANAGER ERIC PEABODY (I BELIEVE ERIC HAS RESIGNED SINCE)
INTERNET SALES MANAGER RON BRANDTMEN

DIRECTLY AFTER BOB MCLAUGHLIN QUIT COREY WAS AGAIN PROMOTED TO GENERAL SALES
MANAGER, ERIC PEABODY WAS STILL FLOOR SALES MANAGER DUE TO HAVING RECENTLY LEFT FOR
CANCER AND STANDING UP FOR ME ALLEGED BY ERIC HIMSELF (AS ERIC STATED) HE WAS NOT
PROMOTED ALTHOUGH HE WAS AT THIS LOCATION AS A MANAGER THE LONGEST BY SEVERAL
YEARS.

E) RETALIATION ACT OF 1998

ALLEGED REASONING TO BELIEVE I WAS RETALIATED AGAINST FOR COMPLAINING TO HR, AND EEOC
ON 8/12/2016 WHEN I WAS TERMINATATED ON 08/30/2016 ABOUT 2 WEEKS AFTER THIS COMPLAINT WAS
FILED. DISCRIMINATION ELLEGED TO OF HAPPENED BETWEEN BOB MCLAGHLINS TIME OF GENERAL
MANAGER. AROUND 01/2015 TO 08/30/2016 WHEN I WAS TERMINATED AND ALLEGING TO BE
RETALIATED AGAINST FOR FILING A COMPLAINT WITH EEOC. MY COMPLAINT WAS BROUGHT UP
DURING MY PAID TIME OFF BY BOB MCLAUGHLIN, HR FRANCINE, AND KEVIN WEISS THE REGION
MANAGER. IT WAS AGAIN DISCUSSED THE DAY I RETURNED AS THE INTERNET SALES ASSISTANT BY
ALL 3 SAME MANAGERS (BOB, KEVIN AND FRANCINE VIA PHONE) THAT HELD A MEETING WITH ME IN
THE MAIN OFFICE PRIVATELY. THIS MEETING FELT MORE LIKE AN ATTACK ON MY CHARACTURE. I
REQUESTED TO RECORD THIS AND THE HR FRANCINE REFUSED ALTHOUGH I DO BELIEVE THE PHONE
CALL ON THE COMPANY PHONE IS ALWAYS RECORDED. I LEFT THIS MEEETING AFTER ABOUT 2 HOURS
IN TEARS, HYPERVENTALATING I WAS VERY UPSET. I STAYED AND THIS NEXT WEEK OF EMPLOYMENT
I HAD NO OFFICE AT ALL OR COMPUTER TO DO MY JOB TILL THE LAST 2 DAYS OF MY EMPLOYMENT. I
WAS HAVING EXTREME ANXIETY AND THROWING UP, PASSING OUT, I THOUGHT I WAS HAVING A
HEART ATTACK ALL WEEK. I AM NOT INTENDING TO PRESUME GUILT IN ANY STATEMENT THESE ARE
MY STATEMENTS OF ALLEGED HAPPENINGS TO SHOW RETALIATION AND DISCRIMINATION

REASONING TO TAKE THIS MATTER TO FEDERAL US COURT AND EEOC FOR THE RIGHT TO SUE THAT I

Pase of 14

 
Case 2:17-cv-01117-JZB Document 12 Filed 12/06/17 Page 10 of 14

RECEIVED IN JANUARY.
REASON FOR THE SAID RETALIATION ACT OF 1998 IN DISCRIMINATION PROTECTING WHISTLE
BLOWERS AND PROTECTED GENDER OF FEMALE WHILE UNDERGOING PROTECTED ACTIVITY IN FILING
A COMPLAINT WITH EEOC, ANY HIGHER MANAGEMENT OR HR. THESE ARE MY ALLEGATIONS OF
ALLEGED EVENTS LEADING TO MY COMPLAINT OF RETALIATION.

1) THE MANAGEMENT OVER MY POSITION CLEARLY KNEW OF MY COMPLAINT WITH EEOC AND THEY
DISCUSSED THIS WITH ME SEVERAL TIMES.
2) 1!WAS TERMINATED ABOUT 2 WEEKS AFTER I FILED EEOC ORIGINAL DISCRIMINATION COMPLAINT
FILED ON 8/12/2016 TERMINATED BY BOB MCLAUGHLIN ON 8/30/2016
3) I WAS TOLD BY A SALES ASSOCIATES SON THE NIGHT PRIOR I WAS GOING TO BE FIRED FOR GOING
TO EEOC THE FOLLOWING DAY I WAS IN FACT TERMINATED AS HE HAD STATED.
4) MY TERMINATION PAPER HAS NO REASON FOR TERMINATION IN IT
AND BOB TOLD UNEMPLOYMENT I QUIT ACCORDING TO MY UNEMPLOYMENT PAPERS.
5) 1 WAS NEVER WRITTEN UP FOR ANY REASON
6) WRITE UPS WAS A CLOSELY FOLLOWED POLICY FOR TERMINATING EMPLOYMENT
7) |WAS ACCUSED OF MISSING ONE AFTERNOON AFTER LUNCH ALTHOUGH I DID CALL AND TEXT BOB
AND ERIC AS BOTH OF MY DIRECT MANAGERS AT THAT TIME WERE AWARE I HAD GOTTEN ILL AND
WAS ON THE PROPERTY, BUT NOT ABLE TO PERFORM JOB DUTIES. I WAS TOLD BY BOB AND ERIC TO
GO HOME. BOB ASKED ME TO CALL NEXT TIME I COULD NOT CALL I WAS VOMITING. HE SAID THERE
WAS NO PROBLEM GO HOME. I WAS AT WORK THE FOLLOWING DAY AND BOB SAID NOTHING ABOUT
ME LEAVING.
I WAS TERMINATED 3 DAYS AFTER THIS WITH NO WARNING NO WRITE UP NO DISCUSSION AT ANY
POINT.
THEY KNEW OF MY COMPLAINT, WITHOUT CAUSE I WAS TERMINATED AND I AM IN FACT A
PROTECTED GENDER OF FEMALE TO COMPLAIN WITH EEOC.

F) DISCRIMINATION ACT FILED WITH EEOC ON 08/12/2016 FILED IN COURT PREVIOUSLY AND IS IN
COURT FILE. ALLEGED EVENTS LEADING TO PLAINTIFFS ALLEGATION OF TITLE VII DISCRIMINATION
CIVIL RIGHTS ACT OF 1964 EQUAL EMPLOYMENT.

THE ALLEGED EVENTS ARE THE PLAINTIF JOSIE OWENS REASON FOR FILING A COMPLAINT IN EEOC,
WITH HR AND CONTINUING IN COURT ACCORDING TO THIS LAW OF BEING A PROTECTED CLASS A
FEMALE. REASON OF 3 OTHER MALE GENDERED EMPLOYEES WITH THE SAME JOB ROLE WERE
ALLEGED TO BE GIVEN PREFERENTIAL TREATMENT, PAY, PROMOTION, OFFICE, EQUIPMENT FOR JOB
NEEDS, PROGRAM AND COMPUTER ACCESS REQUIRED FOR POSITION DENIED TO THE ONLY FEMALE
AT THIS TIME TO EVER FILL THIS POSITION. IT IS ALLEGED I THE PLAINTIFF WAS THE ONLY FEMALE OF
4 MALE GENDERS TO FILL THIS ROLE BELOW ARE MY REASON TO ALLEGE THIS DISCRIMINATION IN
ACCORDANCE TO CIVIL RIGHTS ACT OF 1964.

1. PLAINTIFF IS A FEMALE AND THE ONLY FEMALE KNOWN OF IN THIS ROLE OR PEER ROLES HIRED
AT THIS LOCATION UNTIL CURRENTLY.

2.3 MALE GENDERS HAD THIS POSITION PRIOR AND AFTER PLAINTIFF AND THAT IS ALL DUE TO
THIS BEING A NEW ROLE. THE MALES WHO FILLED THIS ROLE ARE LISTED WITH DATES ABOVE.

3, OFFICE. BOB IMMEDIATLEY MOVED MY OFFICE TO THE STORAGE ROOM AS IT SAID ON THE
DOOR, I WAS DENIED A TRASH CAN, A DECENT CHAIR, OR DESK LARGE ENOUGH TO DO MY JOB
FUNCTIONS. AS WELL THIS WAS SEGREGATED FROM MY MALE PEER MANAGER, THE SALES
TEAM I WAS TO MANAGE OF ALL MEN, AND MY TWO MANAGERS AS WELL MALE. MY OFFICE
WAS RELOCATED TO THE VERY BACK OF BUILDING. IT WAS A STORAGE ROOM AND STATED ON
THE DOOR. I HAD NO AC. HEAT, CEILING, OR WAS THIS PROPER TO BRING GUESTS AND
CUSTOMERS TO DISCUSS BUSINESS. I DID REQUEST A FRONT OFFICE, THERE WAS ROOM AS I
POINTED OUT TO BOB MY MANAGER TO BE IGNORED AND NO RESPONSE AS I WILL AS WELL
INCLUDE AS PORTION OF THIS COMPLAINT IS CONSTANTLY BEING IGNORED, SHUNNED, AND
NOT RESPONDED TO EVEN IN PERSON, HAVING DOORS SHUT IN MY FACE TRYING TO ASK FOR A
BETTER OFFICE. I WAS COMPLETELY UPSET WITH THIS, HOWEVER I HAD A POSITIVE ATTITUDE
AND CARRIED ON IN THIS INSUFFICIENT ARRANGEMENT. I THE PLAINTIF JOSIE OWENS

ye
wf

ps
oe
Pane af 14 .

 
Case 2:17-cv-01117-JZB Document 12 Filed 12/06/17 Page 11 of 14

WITNESSED ALL 3 MEN CARRYING THIS SAME INTERNET SALES MANAGER TITLE HAVING AN
OFFICE IN THE FRONT A LARGE OFFICE, WITH A DESK FOR ASSISTANT AND A NICE OFFICE FOR
CUSTOMERS AMONGST OTHER MANAGEMENT.

4, PAY I WAS TOLD BY ERIC PEABODY AND CORY OF THE PAY THEY RECEIVED IN MY POSITION
WAS CLOSE TO ONE HUNDRED THOUSAND DOLLARS OR OVER WITHY COMMISSION AND
SALARY ARRANGMENTS. ACCORDING TO MY W-2 FORM I MADE LESS THAN FIFTY THOUSAND
IN A FULL YEAR. THIS WAS DUE TO BOB CUTTING MY PAY WITHIN THE FIRST WEEK OF HIS
EMPLOYMENT ABOUT TWO DAYS AFTER MOVING MY OFFICE IN THE BACK. I REVOLVED MY
BILLS AS A SINGLE MOTHER AROUND MY PAY THIS PAY CUT WAS OVER HALF MY PAY
ORIGINALLY AGREED TO I DO HAVE CONTRACTS AND THIS CONTRACT WAS NEVER SIGNED MY
CORPORATE AS SAID IN ORIGINATING CONTRACT SAYING I WOULD MAKE CLOSER TO $92,000 A
YEAR. I HAVE ALL SAID DOCUMENTS TO PROVIDE CLARIFICATION ON PAY. ALL MALES IN M6Y
ROLE WERE PAID MORE BY CLOSE TO FIFTY THOUSAND DOLLARS I DO KNOW OF COREY
JUSTICE AND ERIC PEABODY’S PAY NOT RON BRANDTMEN.

5. TRAINING, AND PROGRAM TO DESK DEALS ABSOLUTELY ESSENTIAL TO MY ADVANCEMENT
AND ABILITY TO DO MY JOB FUNCTIONS TO WRITE DEALS FOR CUSTOMERS AND KEEP IN
DEALERSHIP DATABASE. I REQUESTED ACCESS TO THIS PROGRAM SO I COULD PERFORM ALL
JOB REQUIRMENTS TO AGAIN BE IGNORED I REQUESTED THIS FIRST AROUND NOVEMBER
KEVIN WIESS THE REGIONAL MANAGER SAID NOT YET. I AGAIN REQUESTED THIS AS DID MY
SALES MANAGER ERIC PEABODY AND WE WERE IGNORED CONTINUOUSLY WITH NO RESPONSE
AT ALL BY BOB MCLAUGHLIN. I NEEDED ACCESS TO DESK DEALS IN IDS A PROGRAM USED
THROUGH ALL DEALERSHIPS OF FREEDOM ROADS. I WAS CONTINOUSLY IGNORED BY KEVIN
WEISS, COREY JUSTICE AND BOB MCLAUGHLIN WHEN REQUESTING THIS. ALL MALE GENERS OF
THIS SAME ROLE WERE GIVEN IMMEDIATE ACCESS TO DESK DEALS AND USE ALL LEVELS OF
IDS EXCEPT ME THE ONLY FEMALE. AS WELL WHEN ERIC WAS GONE SICK AND BOB AND COREY
NEEDED ANOTHER PERSON TO ASSIST WITH DESKING DEALS IN IDS I REQUESTED TO HELP AND
HAVE ACCESS YET AGAIN TO BE IGNORED AND BIPASSED ALL CORPORATE MANDATES AND
HIERARCHY TO GIVE PRIVELEDGE OF THIS FUNCTION TO MY SUBORDINATE MALE JAY LOWRY
AT THE TIME A SALES ASSOCIATE. I STILL WAS IGNORED, DENIED AND BIPASSED. I SAW THIS AS
JAY DESKED ONE OF MY CUSTOMERS FROM ONLINE IN IDS IN FRONT OF ME. ERIC SAW THIS
AND WAS ANGRY OF THIS WHEN HE RETURNED, MY DAUGHTER SAW THIS, AS DID ALL THE
EMPLOYEES IN SALES. THIS IS UNHEARD OF IN A DEALERSHIP ENVIROMENT ONE SALESPERSON
DESKING IS NOT FAIR AND IS DEFINITELY CAUSES RESENTMENT OF OTHER EMPLOYEES. THIS
HAPPENED AROUND 04/2016 WHEN ERIC LEFT FOR LEAVE WITH CANCER HAVEN THIS BIPASS ME
AS A SALES MANAGER AND GIVEN TO MY MALE SUBORDINATE. IT WAS HAPPENING SINCE I
WAS PROMOTED BY KEVIN AS I SEE ERIC RECEIVED DESKING IN IDS PRIVELEGES IMMEDIATLEY
UPON HIRE FOR INTERNET SALES MANAGER AND SO DID COREY JUSTICE AS I WAS HIS

. ASSISTANT FOR ABOUT A WEEK AND COULD SEE THIS. RON AS WELL RECEIVED THIS AS MANY
PEOPLE WHO WORK THERE HAD TOLD ME THAT I STILL TALKED TO ON A PRIVATE BASIS. MY
DAUGHTER MARINNA ALSO CAN CONFIRM HE HAD IDS DESKING ABILITIES AND ERIC WAS
ALSO THERE AND WITNESSED THIS. SO WHEN I ASKED WHY I DID NOT GET TO KEEP MY JOB
AND WAS DEMOTED BOB AND KEVIN SAID BECAUSE COREY HAD EXPERIENCE IN IDS THE
PROGRAM FOR A YEAR I REQUESTED AND WAS DENIED.

6.1 WAS NOT INVITED TO MOST MANAGER MEETINGS, NOT INFORMED OF NEEDED CHANGES OR
INCLUDED TO INFORMATION ABSOLUTELY REQUIRED TO PERFORM SUCH AS NEW HIRES WITH
ABSOLUTELY NO ABILITY TO USE CRM OR COMPUTERS I WOULD HAVE NOT CHOSEN,
TERMINATIONS IN WHICH I HAD TO BE SURE THE CUSTOMERS OF SAID EMPLOYEE WAS
TRANSFERRED AND NEW HIRES AS WELL TO CREATE AN ENTIRE CHECKLIST OF ONLINE LOGIN
AND TRAINING MATERIALS.

7. TWAS ON 08/12/2016 DEMOTED WITHOUT WARNING, NOTICE OR ANY CHANCE TO KEEP MY JOB I
HAD ALREADY BEEN DOING SUCCESSFULLY FOR A YEAR, TO COREY JUSTICE WHILE HE WAS
LESS QUALIFIED BY FAR WAS IN MANAGEMENT 2-3 MONTHS LESS TIME THAN ME, AT CAMPING
WORLD LESS TIME, IN RV INDUSTRY LESS TIME, AND HAD VERY LOW COMPUTER SKILLS AS HE
HIMSELF STATED SEVERAL TIMES. HE WAS INFORMED OF THIS CHANGE MONTHS PRIOR AND I

Pace af 14

 
Case 2:17-cv-01117-JZB Document 12 Filed 12/06/17 Page 12 of 14

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

WAS AGAIN LEFT TO THE SIDE WITHOUT IMPORTANT INFORMATION TO KEEP MY JOB OR
PREPARE. MY POSITION WAS STILL AVAILABLE HE WAS MOVED INTO MY JOB WITHOUT ANY
FAIR INTERVIEW, REVIEW OR ANYTHING TO SHOW THIS WAS BASED ON QUALIFICATION OR
REASONING OF ANY KIND OTHER THAN HIS MALE GENDER. HIS NUMBERS DROPPED HOW IS A
MAN TO MANAGE ME ONLINE WHEN HE WOULD HAVE NO IDEA WHAT I AM DOING I ASKED BOB
AND BOB RESPONDED WELL THEN I WILL MANGE YOU AND I SAID BOB I HAD TO TRAIN YOU
AND YOU HAVE NO IDEA HOW TO DO MY JOB EITHER. HE COULD NOT RESPOND HE SAID HE
HAD TO GO AS HE FREQUENTLY WOULD DO TO IGNORE AND SHUN ME MORE. I WAS OFFERED
TO BE COREYS ASSISTANT INTERNET HELPER DOING EXACTLY THE SAME JOB MAKING FAR
LESS ALMOST MIN WAGE. THEY SAID I WAS NOT CHOSEN BECAUSE I DID NOT USE IDS FOR
DESKING AS I MENTIONED BEFOR IN NUMBER 5 I WAS CONSTANTLY IGNORED AND BIPASSED
SPECIFICALLY NOT TO HAV3E THIS ABILITY THAT MY JOB REQUIRED AND EVERY MALE HAD.
AGAIN COREY IMMEDIATELY WAS GIVEN THE LARGEST OFFICE, HIGH PAY, AND ALL NEEDED
JOB FUNCTIONS AS I WAS DENIED ALL YEAR.

8. THIS IS WHEN I HAD ALREADY COMPLAINED TO ERIC PEABODY AND WAS VERY UPSET
REQUESTED MY PTO AND LEFT FOR A WEEK AS I DID PUT ON MY PTO PAPER I WAS GOING TO
FILE A COMPLAINT THAT DAY AT EEOC AS I DID IN FACT DO. THEY ALL KNEW THIS IS WHAT I
DID WHEN I RETURNED AS MENTIONED IN THE RETALIATION PORTION MY JOB WAS MADE
IMPOSSIBLE AND I WAS TERMINATED.

(Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
relevant state or city human rights division.)

IV. Exhaustion of Federal Administrative Remedies

A. It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
on (date)

08/12/2016 DISCRIMINATION COMPLAINT FILED WITH EEOC, 11/2016 RETALIATION FILED

B. The Equal Employment Opportunity Commission (check one):
has not issued a Notice of Right to Sue letter.
issued a Notice of Right to Sue letter, which I received on (date) 01/24/2016

(Note: Attach a copy of the Notice of Right to Sue letter from the Equal Employment
Opportunity Commission to this complaint.)

C. Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendant's alleged discriminatory conduct (check one):

60 days or more have elapsed.X THIS IS A AMMEDED COMPLAINT REQUESTED
less than 60 days have elapsed.

Pane af 14

 
Case 2:17-cv-01117-JZB Document 12 Filed 12/06/17 Page 13 of 14

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

V. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
money damages.

$800,000.00
I LOST MY HOME, ALL BELONGINGS, HAD TO UPROOT KIDS INTO A 30FT TRAILER, MY SON IS ON

SPECIAL EDUCATION SERVICES HE MISSED SCHOOL, FAILED AN ENTIRE SEMESTER HE HAD TO
CHANGE SCHOOLS OVER 6 TIMES NOW, LIVED IN BAD NEIHBORHOODS, LOST VEHICLE MY
LICENSE WHICH IS NEEDED TO HAVE MY LONGSTANDING CAREER NOW I CAN NOT GET A JOB
BECAUSE OF THIS I AM TOO QUALIFIED YET NOT QUALIFIED ENOUGH AND HAVE CAME ACROSS
AT MINIMAL 3 MORE RV DEALERSHIPS WHO BLATENTLY DISCRIMINATED SEXUALLY
HARRASSED AND WOULD NOT HIRE ME BASED ON SEX GENDER. I HAD EXTREME DEPRESSION
AND ANXIETY TO THE POINT OF PASSING OUT MY SON WAS SEVERLY DEPRESSED AND I HAVE
HAD PHYSICAL PROBLEMS DUE TO THIS KIND OF STRESS. I LOST A LOT BUT MY 2 KIDS LOST
MORE. THIS HAS PERMENATLY CAUSED TRAUMA TO ALL 3 OF US. MYSELF, MY SON AND MY
DAUGHTER. AS WELL OTHER FAMILY MEMBERS.

VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11. ,

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing: 12/06/2017

Signature of Plaintiff
Printed Name of Plaintiff JOSIE OWENS

 

B. For Attorneys

Date of signing:

7 Page nf: 14

 
Case 2:17-cv-01117-JZB Document 12 Filed 12/06/17 Page 14 of 14

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

Signature of Attorney

 

Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code

 

 

 

 

 

Telephone Number
E-mail Address

 

 

Pace af. 14 u
*

 
